     Case 1:15-cv-00904-EGB Document 8 Filed 11/13/15 Page 1 of 2


                          ORIGINAL
     3Jn tbe Wniteb ~tate.5 ~ourt of jfeberal ~laims
                                  No. 15-904C
                          (Filed: November 13, 2015)

                                                                        FILED
**********************
DAN HOCK,                                                             NOV 1 3 2C'1S
                                                                     U.S. COURT OF
                      Plaintiff,                                    FEDERAL CLAIMS


v.

THE UNITED STATES,

                      Defendant.
**********************

                                     ORDER

         Plaintiff, appearingpro se, filed his complaint in this court on August
19, 2015, the latest in a string of suits filed in various state and federal courts.
Defendant moved to dismiss for lack of subject matter jurisdiction on October
19, 2015. Plaintiff filed an amended complaint as a matter of course on
November 2, 2015, mooting the motion to dismiss. Plaintiff has also filed a
motion to proceed informa pauper is and a motion for appointment of counsel.
Plaintiffs sister also attempted to file a motion for appointment of counsel, but
it is not clear whether she filed that in a representative capacity for her brother
or on her own behalf. In any event, that document must be returned as untiled
because she is not a party to this case, and plaintiff has already filed such a
motion.

        It is clear on the face of the amended complaint that we lack jurisdiction
over it. We need not wait for a response to the amended complaint because we
must dismiss a case sua sponte when it is clear that we lack jurisdiction. See
Rule 12(h)(3) of the Rules of the United States Court of Federal Claims.

      Although the initial complaint was largely unintelligible, defendant's
motion to dismiss has seemingly narrowed plaintiffs aim, and the amended
complaint cites sections 1983 and 1985 of title 42 of the United States Code
  Case 1:15-cv-00904-EGB Document 8 Filed 11/13/15 Page 2 of 2




and various other tort theories of recovery. We have jurisdiction over none of
them, however.

        The Tucker Act, 28 U.S.C. § 1491 (2012), this court's primary grant of
jurisdiction, gives this court jurisdiction over claims against the United States
for money damages arising out of a constitutional, statutory, regulatory, or
contractual right to the payment of money. Specifically excluded from that
jurisdiction are claims grounded in tort. Id. (excluding cases "sounding in
tort"). Therefore plaintiffs claims for conspiracy, fraud, and infliction of
emotional distress must be dismissed as they are classic examples of
allegations of tort over which we have no jurisdiction.

        Similarly, excluded from this court's jurisdiction are claims based on
the civil rights statute sections cited by plaintiff, 42 U.S.C. §§ 1983, 1985.
That statute, the Civil Rights Act, provides for exclusive remedy in the United
States district courts. See, e.g., Hernandez v. United States, 93 Fed. Cl. 193,
199 (2010). The real basis of plaintiffs allegations is his lack of success
previously in other federal and state courts. We have no jurisdiction over a
collateral attack on another court's judgment.

     Because it is clear that we lack jurisdiction over the allegations in the
amended complaint, we must dismiss. Accordingly, the following is ordered:

       1. The document received on November 4, 2015, signed by Collen
       Hock, is to be returned untiled.

       2. For good cause shown, plaintiffs motion to proceed in forma
       pauperis is granted.

       3. Plaintiffs motion for appointment of counsel is denied.

       4. Defendant's motion to dismiss is denied as moot.

       5. The clerk's office is directed to dismiss the complaint for lack of
       jurisdiction and enter judgment accordingly.


                                             ~~
                                            ERIC G.   nRUGtJNf>-r
                                            Judge

                                       2
